Case 1:01-cv-12257-PBS Document 2380-2 Filed 04/07/06 Page 1 of 4

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY MDL NO. 1456
AVERAGE WHOLESALE PRICE

LITIGATION CIVIL ACTION NO. 01-CV-12257-PBS

Hon. Patti B. Saris
THIS DOCUMENT RELATES TO
ALL ACTIONS

DECLARATION OF LUCY FOWLER

I, Lucy Fowler, declare as follows:

1. I am an attorney with Foley Hoag LLP, counsel for Defendant AstraZeneca
Pharmaceuticals LP in this action. I submit this declaration in support of AstraZeneca
Pharmaceuticals LP’s Counter Statement to Plaintiffs’ Local Rule 56.1 Statement in Support of
Plaintiffs’ Motion for Partial Summary Judgment Against all Track 1 Defendants.

2. Several of the exhibits submitted in support of AstraZeneca’s Counter Statement

have been deemed “CONFIDENTIAL” and “HIGHLY CONFIDENTIAL” and are hereby Filed

Under Seal.

3. Attached as Exhibits | through 23 hereto are true and correct copies of the
following:
EXHIBIT TAB
Excerpts from the transcript of the depositions of John R. Freeberry (May 20, 1

2004) (Oct. 4, 2005) (HIGHLY CONFIDENTIAL) (Filed Under Seal.)

Excerpts from the transcript of the deposition of Christopher J. Iacono (June 9, >
2005) (HIGHLY CONFIDENTIAL) (Filed Under Seal.)
Case 1:01-cv-12257-PBS Document 2380-2 Filed 04/07/06 Page 2 of 4

EXHIBIT

Excerpts from the transcript of the deposition of Carol L. Ware (Oct. 25, 2005)
(HIGHLY CONFIDENTIAL) (Filed Under Seal.)

Excerpts from the transcript of the deposition of Sean D. Coakley (Oct. 25, 2005)
(HIGHLY CONFIDENTIAL) (Filed Under Seal.)

E-mail from John Freeberry to Joan McDevitt (August 9, 2000) (HIGHLY
CONFIDENTIAL) (Filed Under Seal.)

Excerpts from the transcript of the deposition of Mark Reisenauer (Dec. 8, 2005)
(HIGHLY CONFIDENTIAL) (Filed Under Seal.)

Excerpts from the transcript of the deposition of Patricia K. Morgan (Jan. 11, 2005)
(HIGHLY CONFIDENTIAL) (Filed Under Seal.)

Excerpts from the transcript of the deposition of Greg Looney (May 12, 2005)
(HIGHLY CONFIDENTIAL) (Filed Under Seal.)

Excerpts from the transcript of the deposition of Steve Buckanavage (June 8, 2005)
(HIGHLY CONFIDENTIAL) (Filed Under Seal.)

Excerpts from the transcript of the deposition of Jeffrey L. Alverson (June 29,
2004) (HIGHLY CONFIDENTIAL) (Filed Under Seal.)

Excerpts from the deposition of Stephen W. Schondelmeyer (Oct. 14, 2004)
(HIGHLY CONFIDENTIAL) (Filed Under Seal.)

Excerpts from the transcript of the deposition of James F. Liebman (Feb. 11, 2005)
(HIGHLY CONFIDENTIAL) (Filed Under Seal.)

Excerpts from the transcript of the deposition of Dean McAlister (July 27, 2005)
(HIGHLY CONFIDENTIAL) (Filed Under Seal.)

Excerpts from the transcript of the deposition of Robert C. Black (Aug. 30, 2005)
(HIGHLY CONFIDENTIAL) (Filed Under Seal.)

Excerpts from the transcript of the deposition of Cynthia L. Davies (Nov. 9, 2005)
(HIGHLY CONFIDENTIAL) (Filed Under Seal.)

Excerpts from the transcript of the deposition of Carol L. Ryan (Aug. 25, >» 2009)
(HIGHLY CONFIDENTIAL) (Filed Under Seal.)

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Case 1:01-cv-12257-PBS Document 2380-2 Filed 04/07/06 Page 3 of 4

EXHIBIT TAB

Excerpts from the transcript of the deposition of James O’Shea (Sept. 28, 2005) V7
(HIGHLY CONFIDENTIAL) (Filed Under Seal.)

Excerpts from the transcript of the deposition of David R. Brennan (Feb. 14, 2006) 18
(HIGHLY CONFIDENTIAL) (Filed Under Seal.)

Excerpts from the transcript of the deposition of Jennifer Judy (Oct. 11,2005) 19
(HIGHLY CONFIDENTIAL) (Filed Under Seal.)

Excerpts from the transcript of the deposition of Deborah Wilson (Oct. 11, 2005) 20
(HIGHLY CONFIDENTIAL) (Filed Under Seal.)

Excerpts from the transcript of the deposition of Scott Robbins (Oct. 11, 2005) 74
(HIGHLY CONFIDENTIAL) (Filed Under Seal.)

Excerpts from the transcript of the deposition of Susan Klein-Zignoli (Aug. 26, 7
2005) (HIGHLY CONFIDENTIAL) (Filed Under Seal.)

Excerpts from the Report of Independent Expert Emst R. Berndt (Feb. 9, 2005.) 23

I declare under penalty of perjury that the foregoing is true and correct.

By:

Lucy Fowler (BO #647929)
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Dated: April 7, 2006
Case 1:01-cv-12257-PBS Document 2380-2 Filed 04/07/06 Page 4 of 4

CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing was delivered via Federal Express to
counsel for plaintiffs on April 7, 2006:

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